Case 1:18-cv-00719-CCR Document 67-5 Filed 11/06/20 Page 1 of 4

Quinn,Robert E

wa as
From: Quinn,Robert E
Sent: - Thursday, October 22, 2020 2:42 PM
To: Darius Charney
Ce: Claudia Wilner; Chinyere Ezie; Britney Wilson; jjoachim@cov. com
Subject: RE: BLRR v. COB - Depositions

Just to confirm, at the conclusion of our meet and confirm on depositions, which you specifically advised was only as to
depositions when | inquired last week, you mentioned “as heads up” that a motion to compel was forthcoming. | asked
on what grounds and when, and you said it was in the emails and later today. | stated that | believed this was premature
and inappropriate and both Mr. Charney and Ms. Wilner stated my objection was “duly noted” without any substantive
or productive response. Again, | don’t believe this level of gamesmanship is warranted or appropriate, particularly
under present circumstances, and we'll obviously state this in our response to your allegedly forthcoming motion.

From: Quinn,Robert E

Sent: Thursday, October 15, 2020 1:19 PM

To: Darius Charney <dcharney@ccrjustice.org>

Cc: Claudia Wilner <wilner@nclej.org>; Chinyere Ezie <cezie@ccrjustice.org>; Britney Wilson <wilson@nclej.org>;
jjoachim@cov.com

Subject: Re: BLRR v. COB - Depositions

How about the 22 at 2?

Sent from my iPhone

On Oct 15, 2020, at 12:43 PM, Darius Charney <dcharney@ccrjustice.org> wrote:

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Rob-

The meet and confer is on the deposition issue only. We are available on the 22nd and 23rd after
3pm. Which of those do you prefer?

Darius

On Fri, Oct 9, 2020 at 5:38 PM Quinn,Robert E <rquinn@ch.ci. buffalo -hy.us> wrote:

We do not consent to 70 depositions at this time. I believe the request is premature, there’s no
showing of a particularized need, and I don’t see how the cited case supports your claim that 70
is the appropriate number of depositions in this case, With that said, we'll try to be reasonable
and suggest that it would be more appropriate to revisit this issue as we move forward with
discovery and depositions so that we have a better understanding of what will or will not be
relevant, cumulative, and/or duplicative, etc.. Again, I disagree with the scripted language

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about the inadequacy, so just note our disagreement and that that we don’t believe its productive
in moving this case forward.

Not clear if the meet and confer is on this issue only, or if there are other issues in your October
1, 2020 letter on protocol, or if the meet and confer is supposed to occur after you serve formal
notice, etc., but if you’d like to schedule I would be available October 22, 23, or 24 (after 3p.m).

I would like to get some depositions scheduled so hopefully we can speak about that or provide
some dates as soon as possible. Thanks.

From: Claudia Wilner [mailto:wilner@nclej.org]

Sent: Thursday, October 08, 2020 3:06 PM

To: Quinn,Robert E <rquinn@ch.ci.buffalo.ny.us>

Ce: Darius Charney <dcharney@ccrjustice.org>; Chinyere Ezie <cezie@ccrjustice.org>;
Britney Wilson <wilson@nclej.org>; jjoachim@cov.com

Subject: RE: BLRR v. COB - Depositions

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atone

Rob, we never heard from you. Will Defendants consent to 70 depositions? If not, please
provide some times for a meet and confer. Thank you.

<image002.jpg> Claudia Wilner
Director of Litigation and Advocacy (pronouns she/her)
National Center for Law and Economic Justice

275 Seventh Avenue, Suite 1506, New York, NY 10001-6860
212-633-6967 | wilner@nclej.org | www.nclej.org

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at info@nclej.org and destroy the original message and all copies.

From: Quinn,Robert E <rquinn@ch.ci.buffalo.ny.us>

Sent: Friday, October 2, 2020 8:15 AM

To: Claudia Wilner <wilner@nclej.org>

Ce: Darius Charney <dcharney@ccrjustice.org>; Chinyere Ezie <cezie@ccrjustice, org>;
Britney Wilson <wilson@nclej.org>; jjoachim@cov.com

Subject: RE: BLRR v. COB - Depositions

Received. [’ll review with my boss and respond by the end of the day.

From: Claudia Wilner [mailto:wilner@nclej.org]
Sent: Thursday, October 01, 2020 9:06 PM
To: Quinn,Robert E <rquinn@ch.ci.buffalo.ny.us>
Ce: Darius Charney <dcharney@ccrjustice.org>; Chinyere Ezie <cezie@ccrjustice.org>;
Britney Wilson <wilson@nclej.org>; jjoachim@cov.com
Subject: BLRR v. COB - Depositions

OSES SSS ee eae oan So =o arse anit gis Seen on oe

Rob, please see the attached letter concerning depositions.

<image003.jpg> Claudia Wilner
Director of Litigation and Advocacy (pronouns she/her)
National Center for Law and Economic Justice

275 Seventh Avenue, Suite 1506, New York, NY 10001-6860
212-633-6967 | wilner@nclej.org | www.nclej.org

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at info@nclej.org and destroy the original message and all copies.

Darius Charney
Senior Staff Attorney
Pronouns: He/Him

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